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    1                          UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
    2                            CHARLOTTESVILLE DIVISION

    3   ELIZABETH SINES, et al.,
                                                 No. 3:17-cv-72
    4                          Plaintiffs,
                                               Charlottesville, Virginia
    5         vs.                              November 9, 2018
                                               2:32 p.m.
    6   JASON KESSLER, et al.,

    7                          Defendants.

    8                   TRANSCRIPT OF TELEPHONIC MOTION HEARING
                          BEFORE THE HONORABLE JOEL C. HOPPE
    9                       UNITED STATES MAGISTRATE JUDGE.
        APPEARANCES:
  10
        For the Plaintiffs:
  11
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  25          Proceedings recorded by FTR; computer-assisted transcription.
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    1         (Call to Order of the Court at 2:32 p.m.)

    2                THE COURT:    All right.      Good afternoon.   This is Joel

    3   Hoppe.     Who is on the line for the plaintiffs?

    4                MS. KAPLAN:    Hi, Judge.      It is Robbie Kaplan.   I'm here

    5   with a bunch of colleagues.        Would you like me to introduce them?

    6                THE COURT:    Ms. Kaplan, are you going to be speaking for

    7   your clients?

    8                MS. KAPLAN:    I'm not, Your Honor.     My partner, Gabrielle

    9   Tenzer, will be speaking on the imaging issue.           And to the extent

  10    the consent issue comes up, my colleague at Cooley will be speaking

  11    to that.

  12                 THE COURT:    Okay.   All right.    Well, why don't --

  13                 MS. KAPLAN:    I'm just the MC in a way, Your Honor.

  14                 THE COURT:    Sure.   Sure.     How about if we will just

  15    identify the folks who are going to be participating and speaking

  16    at this hearing today.       And I'll remind everyone to -- before you

  17    speak, to please identify yourself as well so that we can keep

  18    track of who is talking.

  19                 MS. TENZER:    Hi, Your Honor.     It is Gabrielle Tenzer, at

  20    Kaplan Hecker and Fink, on behalf of the plaintiff on the imaging

  21    motion, ECF 354.

  22                 MR. BOWMAN:    Good afternoon, Your Honor.       Philip Bowman

  23    from the Cooley firm.       And I'll address the Discord consent issue,

  24    to the extent the Court wants to hear about that.

  25                 THE COURT:    Okay.   All right.    And then how about for the
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    1   defendants?     And let me do this by counsel.          I think that may be

    2   the best way to do it.

    3                Mr. Woodard or Mr. Kolenich, are you on the phone?

    4                MR. KOLENICH:     Yes, sir.     This is Jim Kolenich.

    5                THE COURT:     Okay.

    6                All right.     And, Mr. Kolenich, who -- remind me who you

    7   are here on behalf of.

    8                MR. KOLENICH:     Mr. Kessler and a host of other

    9   defendants.     We do have a motion to withdraw pending on two of

  10    them, but that's yet to be granted.

  11                 THE COURT:     Okay.    All right.   I think I have that list

  12    here.

  13                 All right.     How about mister -- for Mr. Spencer?

  14    Mr. DiNucci, are you on the phone?

  15                 MR. DiNUCCI:     I am, Your Honor.

  16                 THE COURT:     All right.     And then, Mr. Jones, are you on

  17    the phone?

  18                 MR. JONES:     Yes.    I'm here.

  19                 THE COURT:     All right.     Let's see.    And then -- who else

  20    do we have for the defendants?

  21                 MR. CAMPBELL:     Your Honor, this is David Campbell for

  22    -- on behalf of James Fields.          Good afternoon, Your Honor.

  23                 THE COURT:     All right.

  24                 MR. CAMPBELL:     Hopefully I'm playing a very small role

  25    here.   But I just wanted to make sure I was available in case it
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    1   came up.

    2               THE COURT:    Okay.   Thank you.    I -- from the plaintiffs'

    3   motion, I imagine that you are.       It doesn't seem like they are

    4   pursuing anything from mister -- related to Mr. Fields in this

    5   motion.

    6               All right.    Anyone else --

    7               MS. TENZER:    That's correct, Your Honor.

    8               THE COURT:    -- for any other defendants?      Okay.

    9               All right.    Well, counsel, thank you for calling in.

  10    This is a motion related -- or a motion to compel the defendants to

  11    submit to the ESI protocol.       And this hearing is being recorded by

  12    the Court's FTR system.      So just one more reminder to identify

  13    yourself before you -- before you speak.

  14                Counsel, I have reviewed everything that has been

  15    submitted on this motion, and -- but I'm happy to hear from

  16    Ms. Tenzer, if you want to start us off and tell me anything else

  17    that you have to say about the motion.

  18                MS. TENZER:    Thank you, Your Honor.

  19                We've discussed this issue several times already, so I

  20    will try to keep it as brief as possible.         And hopefully -- now

  21    that plaintiffs have agreed to front the costs of this exercise,

  22    which we set forth in our reply papers, which for many of the

  23    defendants was really their sort of sole opposition to the ESI and

  24    preservation protocols, we're hopeful that with your help today we

  25    can get this process finally agreed to and started.
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    1                You know, we think the proposal we have made is very

    2   straightforward.     It is in the stipulation that we submitted to the

    3   court.     Defendants would provide us with a list of the devices and

    4   social media accounts that they used to communicate and create

    5   documents concerning the events that are at issue in this

    6   litigation.     We would identify those that we thought needed to be

    7   imaged.     There would be a third-party vendor who would conduct that

    8   imaging.     That data would go to the defendants.       They would get to

    9   review it for privilege and responsiveness.         They could use search

  10    terms and date ranges to limit that review.         And then that -- the

  11    results of that exercise would be turned over to us.

  12                 And, again, as we said, we would be willing to pay for

  13    that up front.     We're not conceding that the defendants have met

  14    their obligation in terms of making their showing for the cost

  15    shifting, but we are prepared to move forward at this time and

  16    allow them to try to make that showing while the imaging is

  17    proceeding.

  18                 THE COURT:    Do you have a proposed vendor --

  19                 MS. TENZER:    We have been speaking with a number -- we

  20    have -- thank you, Your Honor.       We have been speaking with several

  21    vendors.     We have a couple that we have been speaking with in a

  22    fair amount of detail who are both willing and able to take up this

  23    project and are willing to do it at reduced rates, if not partially

  24    on a pro bono basis.       And, therefore, the costs of the imaging

  25    would be significantly lower than the estimate of $5,000, a device
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    1   that was put forward by the defendants.

    2                So there are vendors available.      And we are talking to

    3   them.   So that -- so, yes.

    4                You know, we -- we're hopeful that we can move forward.

    5   We still have nine defendants of the 18 who haven't produced any

    6   documents.     And the productions we have gotten are deficient both

    7   substantively and in terms of their form.         And we're concerned

    8   about preservation efforts.

    9                Obviously, we're trying to get the best deal possible

  10    from the vendor.     And we're available to answer any other questions

  11    that you might have about that.

  12                 THE COURT:    One objection that I saw that the defendants

  13    have raised is, you know, why isn't this a reciprocal obligation?

  14    Why aren't the plaintiffs submitting to this protocol as well?              Do

  15    you want to address that?

  16                 MS. TENZER:    Sure, Your Honor.

  17                 We -- we have already actually done the protocol.         We are

  18    not asking defendants to do anything that we haven't already done

  19    on behalf of the plaintiff.       All of the plaintiffs' devices were

  20    imaged many, many, many months ago.        And we have been reviewing,

  21    producing that ESI in the format that we are asking defendants to

  22    produce their ESI when we produce it to them.

  23                 So it is reciprocal.    We're perfectly happy to make the

  24    stipulation or whatever the Court enters reciprocal.           But we have

  25    already satisfied what we have proposed and asked -- and are asking
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    1   the Court to order the defendants to do.

    2               THE COURT:     Okay.

    3               All right.     Well, is there anything else before I hear

    4   from the defendants?       I will give you an opportunity to respond to

    5   what they have to say as well.

    6               MS. TENZER:     I don't think so, Your Honor.      Thank you.

    7               THE COURT:     Okay.

    8               All right.     Then, Mr. Kolenich.

    9               MR. KOLENICH:     Thank you, Your Honor.

  10                Their presentation that they are going to front the costs

  11    and then potentially stick us with a bill later doesn't really

  12    fairly meet our objections in the pleadings.         But, that said, if it

  13    is acceptable to the Court that they use their own equipment and

  14    conduct their own ESI and then they produce it to us, we can do

  15    that.    We can access -- you know, we can acquire our own equipment

  16    far, far cheaper than what these companies charge, professional

  17    grade equipment, the same stuff that the companies use, and produce

  18    our ESI back to them.       If that's acceptable procedure, then we're

  19    willing to do that.       And, you know, we can order that stuff next

  20    week.    I imagine I'll have it by the end of the week and we can

  21    commence examining my clients' devices, just as they claim they

  22    have examined their clients' devices.

  23                THE COURT:     Well, why haven't you done that at this

  24    point?

  25                MR. KOLENICH:     Well, when I went through this in separate
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    1   litigation, the other side objected.        They wanted a third party.

    2   They insisted that we use a third-party company.

    3                Secondarily, up until recently, working with other

    4   attorneys around -- you know, colleagues, I wasn't aware that I

    5   could get it any cheaper than many tens of thousands of dollars.

    6   But it turns out that we can.       So that's relatively new information

    7   to me.     That's why I say if it is acceptable to the Court, we will

    8   acquire the equipment and engage in the data acquisition and

    9   process.

  10                 THE COURT:   Well, you know, I guess one concern I would

  11    have with that is, you know, these discovery requests were issued

  12    in January; now it is November.       And it is a significant delay.         It

  13    seems like we need to figure out a way to make sure that all of the

  14    relevant information is being produced in a timely manner.           And,

  15    you know, setting up -- I want to do this once.          I don't want to go

  16    through, you know, a couple different, you know, steps to gather

  17    and produce electronic discovery.        So I'm concerned that if you-all

  18    just do this in-house that that may perpetuate the delay and the

  19    concerns that have led to this motion being filed to begin with.

  20    You know, it is typical that this is done using a third-party

  21    vendor.

  22                 MR. KOLENICH:   Well, without getting too far into why

  23    that is typical and arguing about it, we're happy to, you know, go

  24    with a third-party vendor.       We are not -- you know, we want to make

  25    plain to the Court, we cannot pay these vendors' fees.           You know,
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    1   they are saying, "Well, we'll front the fees.         We're going to

    2   negotiate some third-party reductions, you know, with the third-

    3   party vendors."     That's great.     But when they decide -- or, you

    4   know, they want to come back and say we should have to pay them

    5   now, we can't make a showing, if they are saying -- they don't have

    6   the money.     I want to be very up front with that.

    7                We can afford to buy some equipment.       That is a sunk

    8   cost.   Counsel might even participate in that cost.         But under no

    9   circumstances can they pay the bills that I have seen even on a

  10    reduced basis with other ESI vendors.        These bills are

  11    astronomical.     And these -- my clients cannot afford them.        Even

  12    cut in half, they can't afford them.

  13                 THE COURT:    And, you know, at this point --

  14                 MS. TENZER:     Your Honor --

  15                 THE COURT:    Hold on just a second.

  16                 It is hard for me to really assess that, not knowing more

  17    information about why this is so burdensome or your clients

  18    individual -- I understand there's going to be a cost.           But then,

  19    also, we don't know the amount at this point.         But perhaps --

  20                 MR. KOLENICH:     I can only go what amounts have been

  21    -- you know, Mr. Kessler went through this in separate litigation.

  22    And the bill was 17 or $18,000 for a phone.         So, you know, these

  23    guys can't pay that.       They cannot do it.    Now, the equipment can be

  24    purchased cheaper than that, the necessary equipment.

  25                 Now, I understand the Court's concern that you don't want
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    1    to have us do it in-house and it has to come back for another

    2    round.   So I see the benefit of going with a third-party vendor

    3    here and getting this moving as quickly as possible.          Certainly the

    4    third-party vendors will work faster than what staff I have in our

    5    first attempt at this.     So I'm all right with that.       I just want to

    6    be up front that my guys cannot pay, that we are not making any

    7    representation or agreement to their proposal that "We're going to

    8    front the costs and come back and bill you later" if, you know, if

    9    they feel like -- or whatever the standard use is.          They are saying

   10    we haven't made a showing, I think --

   11               THE COURT:    Well, I think it will be -- at that time it

   12    will be -- you know, if they do -- I mean, typically, the producing

   13    party pays for the production of the discovery.         You know, that can

   14    be shifted if a certain showing is made.        And, you know, I think it

   15    makes a lot of sense.     If this protocol is followed and the

   16    plaintiffs pay for it up front, we're going to have a bill.           We're

   17    going to know what the amount is.       And we're not going to be

   18    talking about, you know, hypotheticals or maybe, you know, someone

   19    can pay a certain indeterminate amount.        They are going to be -- it

   20    is going to be more concrete at that point.

   21               And, you know, if the plaintiffs ask for you-all to pay

   22    for this production, then -- you know, I think it will be -- well,

   23    it will be a more concrete process to evaluate that issue at that

   24    time, after this has been done.       And it is not going to delay the

   25    production of any relevant evidence any further.
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    1               Ms. Tenzer, were you --

    2               MR. KOLENICH:     All right.   As long as we're on the same

    3    page that we're not -- you know, we're not acquiescing on that cost

    4    issue or making any representation that these guys have an ability

    5    to pay anywhere near what the usual bill is from these third-party

    6    vendors.

    7               THE COURT:    I understand that.

    8               Ms. Tenzer, were you trying to make a point about that?

    9               MS. TENZER:     Your Honor, yes.     Thank you.

   10               We agree -- we feel very strongly that this should be

   11    done by a third-party vendor.       We're perfectly happy to submit the

   12    two best proposals that we have received, you know, for the Court's

   13    consideration.    And, you know, we'll just reiterate that, you know,

   14    we're taking the financial risk here.         They are bringing up the

   15    issues of cost and what they can afford.         And I think, you know, we

   16    agree with Your Honor, once we get this going and we have some

   17    concrete numbers, you know, we can deal with that.           But we really

   18    do need to get it going.

   19               THE COURT:    Okay.

   20               Mr. Kolenich, anything else that you wanted to say on

   21    behalf of any of your clients at this point?

   22               MR. KOLENICH:     No, Your Honor, as long as their proposal

   23    is followed by the vendor, that we get it for vetting.           You know,

   24    the vendors can assist us in getting rid of nonresponsive or

   25    frivolous information.      And that's really the most important thing.
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    1    Other than that, we're fully ready to cooperate.

    2                 I do want to mention -- and I think the plaintiffs are

    3    aware -- that there's sort of a separate issue with the separate

    4    -- one of my defendants, Traditionalist Workers Party, had a

    5    completely in-house computer system, hence controlled by one

    6    individual defendant, Mr. Parrott.         And that has been sort of a

    7    side issue as to where that machine is and what has been done to

    8    preserve information on that machine.            But he's going to be fully

    9    cooperative.     But that's just sort of a -- we don't know the status

   10    of that, once these third-party vendors get it, because he built

   11    the machine himself, I guess.         I just want to put that on the

   12    record.   He's sort of a separate issue.

   13                 We're going to cooperate as long as -- you know, as long

   14    as the billing issue is dealt with, then we're prepared to

   15    cooperate.

   16                 THE COURT:     Okay.   Well, you know, the protocol, as I

   17    understand, would require you-all, on behalf of Mr. Parrott, to

   18    identify any devices that are -- might contain or are likely to

   19    contain responsive information and to submit those.            Is that

   20    something that he's going to be able to do?

   21                 MR. KOLENICH:     (Inaudible) to the best of my knowledge,

   22    he's prepared to do that; yes, sir.

   23                 THE COURT:     Okay.   All right.

   24                 Mr. DiNucci?

   25                 MR. DiNUCCI:     Yes, Your Honor.
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    1               I share in Mr. Kolenich's concerns about costs.          I also

    2    -- my biggest concern -- and, actually, Your Honor, I have

    3    attempted to find a third-party vendor down here.          So far, with the

    4    exception of some recent developments, have been striking out.              I

    5    have been told by various third-party vendors down here that they

    6    are conflicted out.     I suspect they do a lot of work down here for

    7    Cooley.

    8               I also have kind of gotten a sense, in talking to people

    9    on the phone or making attempts to get people to call me back, they

   10    know a little bit about this case and don't want to deal with

   11    people like me.     I don't know why.    I'm a nice guy.

   12               I have, however -- today I was actually on the phone with

   13    a vendor down here, a small potatoes guy, but a guy that is very

   14    professional.     I'm -- he is actually going to be sending me a

   15    proposed contract to conduct the kind of examination that we're

   16    talking about here, to be done -- he's not an employee of mine.

   17    He's an independent contractor.       He is local, which is important to

   18    me.   I don't want to be dealing with somebody in LA, Chicago, or

   19    New York, because there's going to be a fair amount of time, I

   20    suspect, that has to go into this on the part of defense counsel to

   21    coordinate with these vendors.       But I'm lining somebody up.      I

   22    don't have a problem -- I need to have the thing reviewed myself.

   23               And I'm sitting on Mr. Spencer's devices, so to speak.               I

   24    have got them in my office.      They are not out getting thrown in the

   25    drink, so to speak.
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    1                 THE COURT:     Yeah.   You know, I think the location of the

    2    vendor is probably not all that significant.         I know there are

    3    shops that do this from Washington state for cases here in

    4    Virginia, for, you know, multiple parties in cases.          And they are

    5    able to, you know, set up electronic databases to review documents

    6    and things like that.        You know, you are going to do it at your

    7    office.     You are not traveling across the country to do that.

    8                 MR. DiNUCCI:     I'm just talking about time difference, as

    9    far as I would be on the phone with people.         It is just

   10    logistically it is simpler if it is somebody, for example, in the

   11    DC metropolitan area for me.         And that's where I have been looking.

   12                 I also have some concerns about details in the order.

   13    But I'll stick to the big picture, unless Your Honor wants me to

   14    address, you know, some of the nuances of the order.

   15                 THE COURT:     Well, I'm happy for you to do that, because,

   16    you know, I've looked at the order and I've looked at your letter

   17    raising some concerns about parts of the order.         If you still have

   18    some remaining concerns, you know, I think we need to flesh that

   19    out here.     I mean, that's part of the purpose of the hearing.

   20                 MR. DiNUCCI:     Well, if I could, then, let me address some

   21    of them.     I'll try to do it in summary fashion.      And I guess

   22    preliminarily I need to say I don't know the first thing about IT

   23    stuff.     But in looking at some of the definitions, looking at page

   24    2-4 of the proposed order, roman numeral number one, "General

   25    Provisions and Definitions," I see at least on the face of that
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    1    some variation between those general provisions and definitions

    2    and, for example, in the definition of instructions set forth in

    3    the requests for production of documents.        It seems to me what we

    4    ought to do is rely on what definitions and instructions were in

    5    the requests for production of documents.        They set forth in great

    6    detail the manner in which they wanted information produced and the

    7    electronic format.      Now there seems to be some variation in this

    8    order compared to what was in the instructions and definitions.

    9               And also to the extent that they define such terms as

   10    "document" on page three of the draft order, they go on about

   11    -- they use various terms.      It seems to me we ought to just go

   12    -- we ought to default to the federal rules and use whatever

   13    definitions there may be in Rule 34 or elsewhere that is

   14    appropriate so we don't have conflicting sources of authority here

   15    as to what it is we're supposed to be doing.

   16               Also --

   17               THE COURT:     Let me address that real -- you know, real

   18    quickly, because, you know, ultimately it is -- as I understand it,

   19    you know, the definitions would apply to this order, but I don't

   20    think that it is -- at the end of the day, when you are tasked with

   21    turning over documents responsive to the discovery requests that

   22    have been propounded to you, this order doesn't change the scope of

   23    those requests, as I -- as I understand.        And this --

   24               MR. DiNUCCI:     I don't think the request is being changed,

   25    Your Honor, but, again, to the extent that in the instructions
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    1    -- in the requests for production they said they wanted electronic

    2    information formatted a certain way, if what they are saying -- and

    3    it seems my quick and dirty sense is they are saying in these

    4    definitions in the proposed order the format they want the stuff

    5    produced at is somewhat different from what they were saying in the

    6    instructions.     Which should prevail in the event of conflict, I

    7    guess is the question?

    8                 THE COURT:    Well, let me ask.   Ms. Tenzer, do you think

    9    that there is some conflict in the format of the production from

   10    what you-all have requested and what this order represents?

   11                 MS. TENZER:    (Inaudible), Your Honor.    And, obviously,

   12    whatever is in the order would dictate.        So I don't know that

   13    there's any fundamental difference.        And whatever is agreed upon

   14    and ordered by the Court would be what was -- what would -- we

   15    would expect to be followed.       And since nobody has followed the

   16    instructions in the format that we provided in the first instance,

   17    I'm not sure that it makes that much of a difference.

   18                 THE COURT:    All right.   Mr. DiNucci, I know that your

   19    client has provided some documents at this point.          But, you know,

   20    those are in a format that doesn't allow metadata and some other

   21    things that I think pretty customarily are sought and required in

   22    discovery.     So I -- you know, I think that, you know, those

   23    documents would certainly need to be produced in a different format

   24    that complies with what the request is -- with the request, but

   25    also, you know, with this proposed order.
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    1                MR. DiNUCCI:   Well, I understand that, Your Honor.        I'm

    2    not even addressing what -- the issue of whether they should get

    3    metadata or not.     I'm just talking about the technical demands that

    4    are set forth in the requests for production and the technical

    5    demands set fourth in this proposed order.        And there may well be

    6    -- and my gut as an old man tells me there is variance between the

    7    two sets of instructions.      And I just -- you know, what are we

    8    telling a vendor predominates -- or prevails?         I presume, as

    9    Ms. Tenzer said, it would be the language in the order.          But it is

   10    a legitimate issue to raise.      I see differences between the

   11    language.

   12                But a broader issue too, Judge, on page seven of the

   13    proposed order, at six, which is captioned "Identification of

   14    Responsive Documents," it says in the last two lines, "Defendant

   15    shall review the results of the collection and produce to plaintiff

   16    those nonprivileged documents that are responsive to the discovery

   17    request," etc., etc., etc.      It makes no reference to what happens

   18    -- to whether documents can be withheld on the basis of objections

   19    that the defendant has previously asserted in their responses to

   20    requests for production.

   21                It seems to me we need to include some language saying

   22    you have -- you know, you can still stand on the objections you

   23    raised before.     And there's a similar requirement, from my

   24    perspective, elsewhere in the order.

   25                It ought to be clear that if the parties had previously
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    1    said that -- made some other objection, they should be able to

    2    stand on that and not withhold, if you will, just privileged

    3    documents.     They haven't waived them.       If they stated objections,

    4    they stated objections, and they ought to be able to stand on them.

    5                 THE COURT:     All right.     Are those --

    6                 MS. TENZER:     Your Honor?

    7                 THE COURT:     Yes.   Go ahead.   Ms. Tenzer.

    8                 MS. TENZER:     This is Gabrielle Tenzer.

    9                 I was just going to say in many instances the defendants

   10    haven't specified in their responses and objections on which

   11    objections they are withholding documents.          You know, if they knew

   12    that, then, obviously, they can stand on those objections.            And at

   13    some point eventually we may get to actual motions to compel on

   14    individual requests.        But we're not at that point yet because of

   15    where we are with the ESI protocol.

   16                 THE COURT:     And I -- Mr. DiNucci, are we talking about

   17    objections that you have already asserted or are you anticipating

   18    that you are going to have new objections after you have seen these

   19    documents?

   20                 MR. DiNUCCI:     Well, I'm certainly referring to any

   21    objections that Mr. Spencer previously stated, because he was the

   22    one who responded to the requests for production.            With respect to

   23    whether there may be additional objections, I have to be candid,

   24    there may be.     I don't know what the universe of documents that

   25    there is, assuming there's any additional documents beyond what he
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    1    produced.    But, I mean, I have got a duty to Mr. Spencer,

    2    obviously, consistent with the federal rules.         If I see other

    3    documents, well, wait a second, those shouldn't be produced, I -- I

    4    -- I think I'm duty-bound to assert objections to that.          Now, Your

    5    Honor may say they are too late, but I certainly have to, unless I

    6    want to commit malpractice, reserve the right to state objections

    7    if there's other materials out there.

    8                And I would ask Ms. Tenzer -- if I have to say on what

    9    -- on the basis of what objection something is withheld, I suppose

   10    it boils down to, too, you know, giving some indication what is

   11    being withheld in some fashion that wouldn't disclose the

   12    information subject to the objections.         That way the issue could be

   13    pressed by opposing counsel and Your Honor could decide it.

   14                THE COURT:     All right.

   15                All right.

   16                MR. DiNUCCI:     (Inaudible) with litigation --

   17                MS. TENZER:     Your Honor --

   18                MR. DiNUCCI:     -- I don't know what is out there until I

   19    see it.

   20                THE COURT:     Right.

   21                All right, Ms. Tenzer.

   22                MS. TENZER:     Your Honor, all -- the defendants served

   23    their responses and objections months ago.         We have had

   24    back-and-forth letter writing.          And we have gone through deficiency

   25    letters and all of that.       And our position would be, under the
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    1    rules, any objections that they have not already raised -- and

    2    there are no -- have been waived.       We're nine months in.      We're

    3    more than nine months in since we served these document requests.

    4    We're not going to -- I don't think there's any grounds on which

    5    they can start asserting new objections.

    6               THE COURT:     Yeah.

    7               Mr. DiNucci, my thought on that would be that, you know,

    8    if you receive some documents that are privileged or something like

    9    that, then certainly, you know, you can create a log and withhold

   10    those.   But to assert, you know, new objections, it does seem like

   11    the time has long since passed to do that.

   12               And really, you know, the objections have been lodged.

   13    You-all have been discussing those over the past couple of months.

   14    And I think that those objections really should be largely, you

   15    know, resolved probably by the time this -- you know this

   16    electronic information is provided to you.        And if there are some

   17    lingering disputes, then, you know, we need to go ahead and get

   18    those addressed.

   19               MR. DiNUCCI:     I understand that.    As I said, I don't know

   20    what I'm going to be -- assuming arguendo there's additional

   21    information that is responsive, I don't know what it is until I see

   22    it.   So I don't know how to handle it.       And I can't say that I

   23    wouldn't object.     I may get shot down really quickly by Your Honor,

   24    but, I mean, I have got to do what I have got to do.          Hopefully

   25    there's not a whole lot we're even talking about.          There's kind of
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    1    a presumption, this whole exercise, if there's thousands of pages

    2    out there, I suspect (inaudible) and this whole discussion may

    3    become moot.

    4                 THE COURT:     All right.

    5                 MR. DiNUCCI:     Also, another broader point -- and maybe it

    6    is just me missing the big picture, which is not an unusual

    7    phenomenon, I suppose -- to what extent is any third-party vendor

    8    going to be subject to the protective order in this case?           I don't

    9    recall seeing in this proposed order any such language.          And I

   10    certainly haven't seen a contract yet from a third-party vendor.

   11                 And I'm concerned -- because in going through these

   12    devices, any third-party vendor, at least theoretically, could be

   13    happening upon information that has absolutely nothing to do with

   14    this case.     And I'm concerned about confidentiality.

   15                 THE COURT:     I think that's a --

   16                 MS. TENZER:     Your Honor, I --

   17                 THE COURT:     Go ahead, Ms. Tenzer.

   18                 MS. TENZER:     I was going to say I believe under the

   19    protective order in the case the vendor would be required to sign

   20    and be subject to the protective order, which is what we have done

   21    with our vendors.

   22                 MR. DiNUCCI:     But, see, that would be solved, then, to

   23    put some similar language in any order that Judge Hoppe may be

   24    signing, just so that it is real clear.

   25                 MS. TENZER:     The order is already --
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    1                MR. DiNUCCI:     I don't recall the terms of it at this

    2    point.    I don't have it in front of me.        But that is a concern.

    3    But if there's already language that is going to address that

    4    issue, so be it.

    5                THE COURT:     Yeah, I'd have to review the protective

    6    order.    But I think that's -- you know, that's typically how -- you

    7    know, how it is done.

    8                MR. DiNUCCI:     Another concern, Your Honor, this would be

    9    at page 12 of the proposed order, paragraph 17, under roman numeral

   10    five, which is "Miscellaneous," it says, "All obligations in the

   11    stipulation and order are continuing obligations.          As such, for

   12    every new email address, mobile phone device, computer, external

   13    storage, social media account, or other communications platform,"

   14    etc., etc., etc., "defendants are going to have to provide an

   15    updated certification confirming they have completed their

   16    obligations under the stipulation and order."          I read that to mean

   17    -- maybe I haven't -- maybe I read it incorrectly -- that if my

   18    client goes out and buys a new computer, we have got to submit that

   19    to the third-party vendor.       That seems kind of absurd, from my

   20    standpoint, if what we're talking about is proof of a conspiracy

   21    that supposedly was formed in 2017.       It certainly would be onerous.

   22    I presume any number of these defendants may periodically get new

   23    computers, new phones.       Are we going to have to have all of those

   24    imaged?

   25                THE COURT:     Yeah, Ms. Tenzer --
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                                                                               23



    1               MS. TENZER:     Your Honor --

    2               THE COURT:     -- that is not what you are seeking?

    3               MS. TENZER:     It requires that we be informed.      And it

    4    would depend.    I mean, based on what we raised in our email

    5    yesterday, we're finding out every day that some of these

    6    defendants are using email addresses and other, you know, accounts

    7    that we're completely unaware of.       And if they are using them to

    8    communicate about the events that took place, then that needs to be

    9    preserved accordingly.      That's their obligation under the rules.

   10               I'm not saying it has to be subjected to a third-party

   11    vendor, but it has to be preserved appropriately.          And we need to

   12    be made aware of accounts and devices that are being used to

   13    communicate about the case.

   14               THE COURT:     And so you would -- you would want a

   15    supplement of Exhibit A to identify additional devices and what

   16    responsive documents may be on the device?

   17               MS. TENZER:     Exactly.

   18               THE COURT:     All right.

   19               So, Mr. DiNucci, you know, if there's additional

   20    responsive information on a new device or a new account, plaintiffs

   21    are asserting, you know, that that's something that would fall

   22    within your duty to supplement.

   23               MR. DiNUCCI:     I understand what they are saying, but I --

   24               THE COURT:     Why wouldn't it?

   25               MR. DiNUCCI:     Well, I understand, Your Honor.      I mean,
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    1    the simplest thing is for each defendant to keep using the same

    2    computer.    But, again, that's a concern of mine.       If somebody buys

    3    a new computer, do we keep adding to this list?         And even if the

    4    person -- it's used for business purposes and not in any way,

    5    shape, or form relates to anything but a business purpose they may

    6    be engaging in, my concern is we're going to be told, "Hey, we want

    7    to have that device searched," and it just goes on forever.

    8                THE COURT:     But, you know, part of the certification in

    9    Exhibit A is identify the device, the type, and then what the

   10    nature of responsive documents is.        You know, if your client

   11    obtains, you know, a desktop or something that doesn't have

   12    anything to do with this case and there's no discussion of it,

   13    there are no responsive documents on it, then I would think that

   14    your certification would indicate as much.        And if there are any

   15    questions that come up, you-all can talk about that.          But I -- you

   16    know, I don't know that that would be subject to review by the

   17    third-party vendor.

   18                MR. DiNUCCI:     And one other point on this.     Any such

   19    obligation I presume is going to be reciprocal here.          I mean, some

   20    of the plaintiffs here are like my kids.        They don't talk to one

   21    another face-to-face.       Everything they use are thumbs-on devices.

   22    I don't know if they are still talking about this case.          But they

   23    have -- the plaintiffs themselves ought to be subject to that

   24    requirement as well.

   25                THE COURT:     Yeah.   Well, every litigant in this case is
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    1    subject to the ongoing duty to supplement.

    2               MR. DiNUCCI:      But I'm talking concerns as well, Your

    3    Honor, Exhibit A.

    4               THE COURT:      Well, do you, Mr. DiNucci -- Ms. Tenzer

    5    indicated that her clients have already essentially followed what

    6    is laid out in this protocol and that that is why they haven't made

    7    it reciprocal; that, you know, they are not opposed to making it

    8    reciprocal.    Do you --

    9               MR. DiNUCCI:      Well, I take counselor's word always.      I

   10    don't necessarily take the plaintiffs themselves at their words

   11    that they have turned in all of their devices to their counsel.             I

   12    think the defendants should get a certification from the plaintiffs

   13    that they have done that.       I mean, our clients are going to be

   14    required to certify --

   15               MS. TENZER:      That's fine, Your Honor.

   16               MR. DiNUCCI:      -- all devices, then that obligation should

   17    be incumbent upon the plaintiffs themselves as well.

   18               THE COURT:      All right.   So, Ms. Tenzer, one thing that

   19    you are to address, the reciprocal -- or the concerns about this

   20    being reciprocal, you can add to the stipulation that the

   21    plaintiffs would be bound by it as well and that they would -- they

   22    would supplement under Exhibit -- under Exhibit A also.

   23               MS. TENZER:      Of course, Your Honor.

   24               THE COURT:      All right.

   25               All right.      Mr. DiNucci, do you have any other concerns?
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    1               MR. DiNUCCI:     Those are the major points, Judge.

    2               THE COURT:     Okay.

    3               All right.     Mr. Jones.

    4               MR. JONES:     Yes, Your Honor.

    5               THE COURT:     Anything that you would like to say?

    6               MR. JONES:     I don't -- I don't believe I have anything to

    7    add, other -- in addition to what Mr. Kolenich and DiNucci have

    8    already said.

    9               THE COURT:     Okay.

   10               All right.     And, Mr. Campbell, you are kind of taking a

   11    sideline view today?

   12               MR. CAMPBELL:     Yes, sir.     Nothing to add.

   13               THE COURT:     All right.     All right.

   14               UNIDENTIFIED VOICE:      (Inaudible) anything else?

   15               MS. TENZER:     Your Honor.

   16               THE COURT:     Yeah?

   17               MS. TENZER:     Yeah, Your Honor.    To Mr. DiNucci's point

   18    about location, we would -- I think we would just like to add that,

   19    one, we think it would be best to just have a single third-party

   20    vendor who is handling this for a variety of reasons.            There's also

   21    an issue of economies of scale that will be helpful to all of us.

   22    And, secondly, the vendors that we're speaking with have the

   23    capability and have a presence nationwide.            And so they would be

   24    able to handle dealing with the various locations that are at

   25    issue.
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    1               THE COURT:    Okay.

    2               All right.    Well, counsel, it sounds like a lot of the

    3    concerns that the defendants -- Mr. DiNucci in particular, the

    4    concerns that you have raised -- can be addressed, you know, by

    5    some tweaks to the stipulation.

    6               And, Mr. Kolenich, I know that your clients and the other

    7    defendants are certainly not agreeing to pay for this third-party

    8    vendor now or in the future.      The plaintiffs have agreed, you know,

    9    to pay for it at this time.      And, you know, if at some point the

   10    payment of the cost for the third-party vendor comes up, then, you

   11    know, that's just something I think we'll have to litigate.           But I

   12    think we'll be, you know, in a better position to evaluate each

   13    party's position once -- you know, once this is done.          And we'll

   14    know the actual cost.     And we will move forward on this discovery.

   15               I think the stipulation makes a lot of sense, in looking

   16    at the cases on this issue, in particular the one cited by the

   17    plaintiff, but the Pro-Cast case I think is instructive.           And, you

   18    know, it doesn't -- I think why it is important to do this is that

   19    this discovery has been outstanding for some time.

   20               For some of the defendants there's a concern that some of

   21    the -- some relevant information may have been lost one way or the

   22    other.   With some others -- other defendants there are concerns

   23    about the inadequacy of the production.        And both of those reasons

   24    can certainly warrant having an order that would impose a third-

   25    party vendor.    So I think it -- I think it is necessary do this.
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    1    And I -- and it also sounds like, as long as we can do some of

    2    these -- do some of these tweaks, that there isn't a great deal of

    3    opposition either -- or at least that your concerns can be

    4    addressed.

    5                 So what I would like you-all to do, Ms. Tenzer, is to

    6    make some of the tweaks that we talked about here.          Make the

    7    stipulation reciprocal.       If there's any way to clarify in the

    8    stipulation that -- you know, objections that have already been

    9    stated to the responsiveness or whatever else of the discovery

   10    requests, that those are -- those are preserved.         And I would

   11    encourage you-all to try and work through those now, to the extent

   12    that you can, so there is no further delay in the production of the

   13    discovery.

   14                 MS. TENZER:    Of course, Your Honor.

   15                 THE COURT:    Let's see.   And then, you know, we'll have to

   16    -- we'll have to change in the -- or at least note in the protocol

   17    that for the time being plaintiffs are agreeing to pay for this,

   18    but that's -- you know, it is not -- it is without prejudice to any

   19    request that the defendants bear the burden.         And the defendants

   20    certainly preserve, you know, any objections to paying for them in

   21    the future.     But, otherwise, I don't think that there are any other

   22    issues to address in this stipulation.

   23                 Ms. Tenzer, is there anything else that you can identify?

   24                 MS. TENZER:    I don't think so, Your Honor.

   25                 THE COURT:    All right.
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                                                                               29



    1                Mr. Kolenich?

    2                MR. KOLENICH:     Nothing further, Your Honor.

    3                THE COURT:     All right.

    4                Mr. DiNucci?

    5                MR. DiNUCCI:     Nothing further, although, just for

    6    clarification's sake, Your Honor didn't mention the reciprocity

    7    aspect.    Is that a tweak we're supposed to provide in this order as

    8    well?

    9                THE COURT:     I'm sorry if I didn't.     I thought that was

   10    the first thing I said.

   11                MR. DiNUCCI:     Then we're fine, Your Honor.     I'm sorry,

   12    Your Honor.    All right.     We're fine.

   13                THE COURT:     Okay.

   14                All right.     Mr. Jones, anything?

   15                MR. JONES:     No, Your Honor.

   16                THE COURT:     All right.

   17                All right.     Why don't -- I do want to address the Discord

   18    issue today too, if you-all are prepared to do that.          Mr. Kolenich

   19    and Mr. DiNucci, Mr. Jones, are you-all prepared to address that?

   20                MR. KOLENICH:     Jim Kolenich.    Yes, I can address it, Your

   21    Honor.

   22                MR. DiNUCCI:     John DiNucci.    No, I'm not prepared, Your

   23    Honor.    I'm still reading a decision out in San Francisco and

   24    looking at the law and looking -- including the act.          And I have

   25    got questions I have to put to my clients.          I mean, I'm familiar
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    1    with the issue, but not sufficiently to actually make a reasoned

    2    argument today, if that's what Your Honor is asking.

    3                 THE COURT:     Okay.

    4                 All right.     Mr. Jones?

    5                 MR. JONES:     I'm ready.   I think my -- my clients have

    6    complied.     And I did see Mr. Bowman's email about needing another

    7    email, but I think my clients have complied.

    8                 THE COURT:     Okay.   Why don't we go ahead -- Mr. Bowman,

    9    Mr. Kolenich, and Mr. Jones, why don't we go ahead and take up this

   10    issue today.

   11                 And, Mr. DiNucci, you know, I'll certainly allow you an

   12    opportunity to address this at a later time if you need some more

   13    time to consider it.

   14                 MR. DiNUCCI:     Thank you, Your Honor.

   15                 THE COURT:     Mr. Bowman, go ahead and tell me a little bit

   16    more.   I have read the email about it.

   17                 MR. BOWMAN:     Thank you, Your Honor.

   18                 The issue is that, as the Court may be aware, the

   19    complaint alleges that the defendants conducted much of the

   20    planning for the events in Charlottesville on an online platform

   21    provided by a company called Discord.        And some of those

   22    communications have been made public and are quoted in the

   23    complaint.     But a complete set of those communications we believe

   24    is maintained by Discord.

   25                 We had served requests for these materials to the
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    1    defendants.     And we have also sent a subpoena to Discord.        Discord

    2    is at this point prepared to produce the responsive documents, but

    3    only on the condition that the defendants provide consent.           And

    4    that is because the Stored Communications Act doesn't allow Discord

    5    -- or they believe it doesn't allow them, and we don't dispute this

    6    -- to provide individual user's communications without their

    7    consent -- or to disclose them without their consent.

    8                So we have asked -- Discord has provided a form of

    9    consent that the defendants can use that would be acceptable to

   10    enable Discord to produce these documents to the plaintiffs.           We

   11    have provided that to the defendants.        As Mr. Jones said, his

   12    clients -- or one of his clients has complied.         One of his clients

   13    has complied in an ineffective way.       And I take it that that will

   14    be addressed.     And the rest of defendants have not complied; in

   15    fact, have said that they would not.

   16                THE COURT:    Okay.

   17                MR. BOWMAN:    Your Honor, our position is that --

   18                THE COURT:    Go ahead.

   19                MR. BOWMAN:    I was just going to say, Your Honor, that

   20    our position is that the Court has the authority and under the

   21    circumstances should order the defendants to provide these

   22    consents.     The documents are, under the standards of the federal

   23    rules, within the defendants' control, because they have the right

   24    to provide consent, and therefore should be produced in this case.

   25                THE COURT:    Okay.   Mr. Jones, what is your view on the
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                                                                               32



    1    Discord?

    2               MR. JONES:    Do you mean me, Your Honor?

    3               THE COURT:    Yes, sir.

    4               MR. JONES:    Or did you mean Mr. Kolenich?

    5               THE COURT:    No.     I want to start in reverse order.

    6               MR. JONES:    Oh.     My clients are happy to provide the

    7    consent.   They have already.       And I'll fix the issue that

    8    Mr. Bowman emailed me about earlier today.

    9               THE COURT:    Okay.

   10               All right.    Mr. Kolenich.

   11               MR. KOLENICH:       Thank you, Your Honor.

   12               We did discuss this with the attorneys from Cooley last

   13    week and explained the reasons why my clients wouldn't comply and

   14    were in need of -- you know, we're aware that the Court can order

   15    this.   We're aware that this is discoverable.          And I don't have any

   16    argument that I'm aware of that can be posited to prevent the Court

   17    from issuing that order.        But for reasons that, you know, we

   18    discussed among counsel, we need that court order, and specifically

   19    because of that Stored Communications Act.        The participants in the

   20    Discord chats believed these were private, that they had privacy.

   21    Their ignorance of the Court's ability to order us to sign is

   22    notwithstanding, but we can't just voluntarily sign these releases

   23    in the absence of a court order.

   24               If the Court is going to issue that order at the request

   25    of the plaintiffs -- and we don't have a problem with the Court
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    1    accepting an oral motion from them today -- we're not going to

    2    object.     We will comply.     But we need that court order.

    3                 THE COURT:   Okay.    All right.

    4                 Well, I certainly think it is appropriate to do the

    5    order.     I mean, these -- from the allegations and what you-all

    6    said, these -- there are potentially relevant discussions on

    7    Discord.     And, really, it is -- I think it would be incumbent upon

    8    the defendants to provide those discussions.         So, you know, this is

    9    the way to do it, to require the consent of Discord --

   10                 MR. KOLENICH:     Yeah, we can't -- we can't provide them

   11    because Discord disabled all of the account credentials from my

   12    client.     That's why we haven't been able to provide them.        So

   13    Discord has to do it.        And, you know, the Court order allows us to

   14    sign the documents that the plaintiffs' attorneys got from Discord.

   15                 I haven't been able to get anything from Discord.           You

   16    know, I wrote them on behalf of my clients.         Nothing.    No response

   17    whatsoever.

   18                 THE COURT:   Okay.    All right.

   19                 Well, I will enter the order, then, for -- Mr. Jones and

   20    Mr. Kolenich, for your clients, requiring that they sign the

   21    consent form that Discord has provided.

   22                 And, Mr. DiNucci, why don't -- why don't we do this?              How

   23    about you take a bit of time and then let -- why don't you let the

   24    Court know.     And you can just file a notice, and just file it on

   25    ECF.     It can be real short, just saying that you are either
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    1    opposing the Court entering an order requiring that your client

    2    sign the consent form or that you are not opposing it.          And if you

    3    are opposing it, then we can do a conference call and address the

    4    reasons for that.     And I'll be happy to hear what you have to say

    5    at that point.     But why don't you do that within -- file that

    6    notice within seven days?

    7               MR. DiNUCCI:     Fine, Your Honor.

    8               THE COURT:     All right.

    9               MR. KOLENICH:     Your Honor, this is Jim Kolenich.

   10               I just -- one other observation.       If the Court order

   11    could order the plaintiffs to turn over whatever they get from

   12    Discord to us when they have it, because the release doesn't

   13    address that issue, I would appreciate it.

   14               THE COURT:     Okay.   Yeah, I think they would be obligated

   15    to do that.

   16               Okay.    From the plaintiffs' perspective, is there

   17    anything else that we need to address today?

   18               MS. KAPLAN:     Your Honor, I don't think that there's

   19    anything that needs to be addressed substantively.          There's a

   20    couple of things coming down the pike, for lack of a better term,

   21    here.

   22               There's an issue about an email that I received from

   23    Mr. Kessler under a different name that may be the subject of a

   24    sanctions motion.     And then there's a withdrawal motion which we're

   25    currently considering whether or not to oppose, researching the
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    1    case law.    And we'll get back to the Court promptly on that.

    2                THE COURT:    Okay.

    3                Mr. Kolenich, on the --

    4                MS. TENZER:     Your Honor.

    5                THE COURT:    Hold on just a second, Ms. Tenzer.

    6                Mr. Kolenich, on the motion to withdraw, you know, one

    7    thing that if I were to grant that that we would need so that the

    8    Court can communicate with those clients and also so the plaintiffs

    9    could communicate with a pro se party is that, you know, I wouldn't

   10    be able to let you-all out of the case until you provide the

   11    contact information for those defendants.

   12                MR. KOLENICH:     I can provide that today, Your Honor.

   13                THE COURT:    Okay.   Well, we don't need it today, but --

   14                MS. TENZER:     Your Honor --

   15                THE COURT:    Yes, and -- Ms. Tenzer, go ahead.

   16                MS. TENZER:     On that -- on that point, we don't have that

   17    information for Mr. Mosely, who counsel has withdrawn their

   18    representation for Mr. Mosely and that information hasn't been

   19    provided.    And, you know, we have been continuing to try to

   20    essentially serve Mr. Mosely through his former counsel.           But at

   21    some point it would probably be a good idea to have that contact

   22    information.

   23                THE COURT:    Yeah.   I did notice that in one of the -- I

   24    think a footnote in one of your filings.        And the Court doesn't

   25    have anything on ECF for him.
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    1               So, Mr. Kolenich -- and I think that that was something

    2    that I had put in the order, you know, that you were to provide the

    3    Court with his contact information.

    4               MR. KOLENICH:     I missed that in the order if you did,

    5    Your Honor, but that's no problem.        I'll provide that with the

    6    other two when I send it.

    7               THE COURT:    Okay.

    8               MR. KOLENICH:     I should observe, as to Mr. Mosely, we

    9    don't have anything but an email.        We don't have a good phone

   10    number nor an address.

   11               THE COURT:    Okay.     All right.   Well, if that's all you

   12    have, that -- that's what you have.        So we'll look for that.        And

   13    you can just send that in to the clerk's office and also provide to

   14    plaintiffs' counsel.

   15               MR. KOLENICH:     Yes, sir.

   16               THE COURT:    All right.

   17               All right.    Mr. Kolenich, is there anything else to raise

   18    today?

   19               MR. KOLENICH:     No.    I know they have mentioned this

   20    Kessler email.    You know, non attorneys aren't aware of the ethical

   21    rules governing lawsuits or, you know, attorney contact, so -- he

   22    has been instructed and admonished and he agrees not to do that

   23    anymore.

   24               I also have account credentials for that email.          And

   25    there's literally -- you know, it was -- it was opened well after
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    1    the incident.    There's literally nothing in there about

    2    Charlottesville except that one email that he sent to plaintiffs'

    3    counsel.   So I wanted to put that of record.        There's really

    4    nothing there other than the improper communication.           There's no

    5    substance behind that or damages behind that.

    6               THE COURT:     Okay.

    7               All right.     Mr. DiNucci, anything else?

    8               MR. DiNUCCI:     None, Your Honor.

    9               THE COURT:     All right.    And, Mr. Jones, anything else?

   10               MR. JONES:     No, Your Honor.

   11               THE COURT:     All right.    And, Mr. Campbell?

   12               MR. CAMPBELL:     No, sir.

   13               THE COURT:     Okay.   All right.    Well, counsel, thanks for

   14    calling in today.     I will try and get this order out either -- if

   15    not today, then certainly early next week.         And in the meantime, if

   16    you-all want to work on that stipulation, making the revisions that

   17    we have talked about, I'll get that entered shortly after I receive

   18    the draft of it.

   19               UNIDENTIFIED VOICE:      Thank you, Your Honor.

   20               THE COURT:     All right.    Well, thank you-all.     Have a good

   21    weekend.

   22          (Thereupon, these proceedings were adjourned at 3:29 p.m.)

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    1          I, court-approved transcriber, certify that the foregoing is a

    2    correct transcript from the official electronic sound recording of

    3    the proceedings in the above-entitled matter.

    4

    5
                     /s/ Carol Jacobs White                    November 20, 2018
    6          Signature of Approved Transcriber                Date

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